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JS 44 (Rev. 09/11)

The JS 44 civil coversheet and the inforrmtion contained herein neither replace nor supplenent the filing and service of pleadngs or other
by local rules of court. This form, approved by the Judicial Conference of the United

CIVIL COVER SHEET

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the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

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I.

(a) PLAINTIFFS

TARLA MAKAEFF, et al.

Resin aes Beene

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S, PLAINTIFF CASES)

Dowd LL

ES and Helgphone Number)

120 E. Palmetto Park Road, Suite 500, Boca Raton, FL 33432
Tel. 561/750-3000

DEFENDANTS

NOTE:

Attorneys (if Known)

 

TRUMP UNIVERSITY, LLC, et al.

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CAS SES. LONLY)-
IN LAND CONDEMNATION CASES; USE

THE TRACT OF LAND INVOLVE!

  

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II. BASIS OF JURISDICTION

(Place an “X" in One Box Only)

 

 

Il. CITIZENSHIP OF PRINCIPAL PARTIES: (Place: an "X" fitone Bux for Mainufi)

 

 

 

 

 

(For Diversity Cases Only) L “and One Bax for. pefendant)

0 1 US. Government OG 3 Federal Question PTF DEF Cite DEF

Plaintiff (U.S. Government Not a Party) Citizen of This State 01 © 1 Incorporated or Principal Place 404

of Business in This State

0 2 US. Government O 4 Diversity Citizen of Another State G2 O 2 Incorporated and Principal Place os 05

Defendant (Indicate Citizenship of Parties in Liem {) of Busmess In Another State

Citizen or Subject of a G3 O 3 Foreign Nation m7 6 (7 6
Foreign Country
IV. NATURE OF SUIT (Place an x * in One Box Only) —
Li CONTRACT. TORTS FORFEITURE/PENALTY __| _ BANKRUPTCY - OTHER STATUTES: ]
© 110 Insurance PERSONAL INJURY PERSONALINJURY = |0 625 Drug Related Seizure O 422 Appeal 28 USC 158 375 False Claims Act
& 120 Marine O 310 Airplane O 365 Personal Injury ~ of Property 21 USC 881 | 423 Withdrawal 400 State Reapportionment
© 130 Miller Act 0 315 Airplane Product Product Liability © 690 Other 28 USC 157 410 Antitrust
OF 140 Negotiable Instrument Liability 0) 367 Health Care/ 430 Banks and Banking
{J 180 Recovery of Overpayment [( 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 450 Commerce
& Enforcement of Judgment Slander Personal Injury O 820 Copyrights 460 Deportation

() 151 Medicare Act © 330 Federal Employers’ Product Liability G 830 Patent 470 Racketeer Influenced and
O 152 Recovery of Defaulted Liability O 368 Asbestos Personal © 840 Trademark Corrupt Organizations

go000 a

[ __ REAL PROPERTY -_ |.

Student Loans
(Exel. Veterans)
153 Recovery of Overpayment
of Veteran’s Benefits
160 Stackholders' Suits
190 Other Contract
195 Contract Product Liability
196 Franchise

6 340 Marine

OG 345 Marine Product
Liability

© 350 Motor Vehicle

6 355 Motor Vehicle
Product Liability

2 360 Other Personal
Injury

(C1 362 Personal Injury -
Med, Malpractice

Injury Product

 

SE! TY

 

Liability LABOR
PERSONAL PROPERTY |0 710 Fair Labor Standards G 861 HIA (1395ff)
3 370 Other Fraud Act

D 371 Truth in Lending

© 380 Other Personal
Property Damage

J 385 Property Damage
Product Liability

 

6 210 Land Condemnation

. CIVIL RIGHTS
0) 440 Other Civil Rights

 

PRISONER PETITIONS

© 510 Motions to Vacate

0 720 LaborfMgunt. Relations

0 740 Railway Labor Act

CO} 751 Family and Medical
Leave Act

6 790 Other Labor Litigation

G 791 Empi. Ret. Inc.
Security Act

O 862 Black Lung (923)

0 863 DIWC/DIWW (405(g))
OF 864 SSID Title XVI

0) 865 RSI (405(g))

FEDERAL TAX SUITS - .
O 870 Taxes (US. Plaintiff

 

 

 

QQ 02000 900 9000000

 

480 Consumer Credit

490 Cable/Sat TV

850 Securitics/Commodities/
Exchange

890 Other Statutory Actions

891 Agricultural Acts

893 Environmental Matters

895 Freedom of Information
Act

896 Arbitration

899 Administrative Procedure
Act/Review or Appeal of

 

O 220 Foreclosure O 441 Voting Sentence or Defendant) Agency Decision
© 230 Rent Lease & Ejectment O 442 Employment Habeas Corpus: 6 871 IRS—Third Party O 950 Constitutionality of
O 240 Torts to Land 0 443 Housing/ 0 530 General 26 USC 7609 State Statutes
© 245 Tort Product Liability Accommodations O 535 Death Penalty IMMIGRATION
290 All Other Real Property CG 445 Amer, w/Disabilities- }0 540 Mandamus & Other [0 462 Naturalization Application
Employment O 550 Civil Rights O 463 Habeas Corpus -
446 Amer. w/Disabilities - | 555 Prison Condition Alien Detainee
Other O 560 Civil Detainee - {Prisoner Petition)
O 448 Education Conditions of 1 465 Other Immigration
Confinement Actions
V. ORIGIN (Place an “X" in One Box Only) Transferred fi
O1 Original C} 2 Removed from © 3° Remanded from O 4 Reinstatedor Oo 5 another district O 6 Multidistrict
Proceeding State Court Appellate Court Reopened (specifi) Litigation

 

VI. CAUSE OF ACTION

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

 

 

Brief description of cause:

 

VII. REQUESTED IN

O CHECK IF THIS IS A CLASS ACTION

DEMAND $

CHECK YES only if demanded in complaint:

 

 

 

 

COMPLAINT: UNDER F.R,C.P. 23 JURY DEMAND: OYes No
VII. RELATED CASE(S) See instructions):
IF ANY (See instructions): JUDGE DOCKET NUMBER
DATE SIGNATUR OF “ORNEY OF RECORD
ie
9-23-2063 -————
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG, JUDGE

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JS 44 Reverse (Rev. 09/11)
INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplerents the filings and service of pleading or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the
use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil
complaint filed. The attorney filing a case should complete the form as follows:

1. (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. Ifthe plaintiff or defendant is a government agency, use only
the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the official, giving
both name and title.

(b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant residesat the time of filing. (NOTE: In land condemnation
cases, the county of residence of the “defendant” is the location of the tract of land involved.)

(c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section “(see attachment)”.

Il. Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.CP., which requires thatjurisdictions be shown in pleadings. Place an “X” in one
of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348, Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdicti on arises under the Constitution of the United States, an amendment to the
Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is aparty, the U.S. plaintiff or defendant code takes precedence, and box
1 or 2 should be marked.

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the citizenship of
the different parties must be checked. (See Section III below; federal question actions take precedence over diversity cases.)

Ill, Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversty of citizenship was indicated above. Mark this section
for each principal party.

IV. Nature of Suit. Place an “X” in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
sufficient to enable the deputy clerk or the statistical clerks in the Administrative Office to determine the nature of suit. If the cause fits more than one nature of
suit, select the most definitive.

V. Origin. Place an “X” in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28U.S.C., Section 1441. When the petition
for removal is granted, check this box.

Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing date.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.

Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistrict
litigation transfers.

Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this
box is checked, do not check (5) above.

Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate judge’s decision.

VI. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause Do not cite jurisdictional statutes
unless diversity. Example: U.S. Civil Statute: 47 USC 553

Brief Description: Unauthorized reception of cable service
VII. Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the IS 44 is used toreference related pending cases, if any. If there are related pending cases, insert the docket numbers
and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
